Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 1 of 14

                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MARYLAND
                            NORTHERN DISTRICT

  - - - - - - - - - - - - - - - x
                                :
  UNITED STATES OF AMERICA      :         Criminal No. 18-CR-00278-CCB
                                :
       v.                       :
                                :
  ANTONIO SANTIFUL,             :
                                :
            Defendant.          :         Baltimore, Maryland
                                :
  - - - - - - - - - - - - - - - x         May 15, 2018


                             DETENTION HEARING


       BEFORE:    THE HONORABLE A. DAVID COPPERTHITE, Judge

  APPEARANCES:                       PATRICIA C. McLANE, Esq.
                                     Office of the U.S. Attorney
                                     36 S. Charles Street
                                     Fourth Floor
                                     Baltimore, Maryland 21201
                                       On Behalf of the Government

                                     MARSHALL T. HENSLEE, Esq.
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                                     Suite 301
                                     Towson, Maryland 21204
                                       On Behalf of the Defendant

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Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 2 of 14          2

                                 I N D E X

                                                                 Page

  Preliminary Matters                                               3

  On Detention:
       by Patricia C. McLane, Esq.
       On behalf of the Government                                  4

        by Marshall T. Henslee, Esq.
        On behalf of the Defendant                                  9


  Finding -- Judge A. David Copperthite                            11




  KEYNOTE:   "---" Indicates inaudible in transcript.
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 3 of 14
km                                                                                 3

      1                              P R O C E E D I N G S

      2           (Whereupon, at 2:44 p.m., the proceedings began.)

      3                 MS. McLANE:     The United States of America versus

      4     Antonio Santiful.      Criminal No. 18-CCB-0278.      Patricia McLane

      5     on behalf of the United States.         We are here for a detention

      6     hearing.

      7                 THE COURT:     Okay.   Thank you.

      8                 MR. HENSLEE:     Good afternoon, Your Honor.       Marshall

      9     Henslee, I am here on behalf of Mr. Santiful.          He is with me

     10     here at the trial table.

     11                 THE COURT:    Mr. Henslee, good afternoon.

     12     Mr. Santiful, good afternoon.

     13                 THE DEFENDANT:     Good afternoon, Your Honor.

     14                 THE COURT:    Are we proceeding with the detention

     15     hearing?

     16                 MS. McLANE:    I believe we are, Your Honor.

     17                 THE COURT:    Okay.    And --

     18                 MR. HENSLEE:    We are --

     19                 THE COURT:    Yes.

     20                 MR. HENSLEE:    I was just going to say up front that

     21     there was -- the person that I would be proposing is the

     22     third party custodian, I was just on the phone with her.           And

     23     she is right in the area.        She is having trouble finding

     24     parking.    And frankly, I did as well.       But I would expect her

     25     to be here any minute.
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 4 of 14
km                                                                                 4

      1                  THE COURT:     Okay.    Have you all received a copy of

      2     the Pretrial Services report?

      3                  MS. McLANE:     Yes, Your Honor.

      4                  MR. HENSLEE:     Yes.

      5                  THE COURT:     You had an opportunity to review that

      6     with Mr. Santiful?

      7                  MR. HENSLEE:     I have gone over with him, yes.

      8                  THE COURT:     Okay.    All right.   Ms. McLane, I will

      9     hear from you and Mr. Santiful, Mr. Henslee, you can be

     10     seated.

     11                  MR. HENSLEE:    Thank you.

     12                  MS. McLANE:    Yes, thank you, Your Honor.

     13     Your Honor, in this case pursuant to 18 USC 3142, the

     14     Government does enjoy the rebuttable presumption that

     15     condition or combination of conditions are going to insure

     16     the appearance or safety of the Defendant.

     17                  We believe that there is PC and I will get into

     18     that in just a minute.       And more importantly we believe that

     19     there are simply no conditions that are going to keep the

     20     community safe from Mr. Santiful.

     21                  Right off the bat, the Government does not have a

     22     concern in terms of the flight -- in terms of him leaving

     23     Baltimore.    That is just not realistic in a case like this.

     24     He does have two failure appears through his MVA, but again,

     25     flight is not something that I am going to address here
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 5 of 14
km                                                                                 5

      1     today.

      2                  What I want to focus on is dangerousness to the

      3     community.    And I think the case itself speaks to that as

      4     well as Mr. Santiful’s record.

      5                  This case, to give Your Honor an idea, because it

      6     is not a speaking indictment and it looks like any generic

      7     drug conspiracy case, began in November of 2017.           At that

      8     time agents became aware of the three top individuals in that

      9     indictment, Mr. Alston, Mr. Boykin and Mr. O’Cain.             Those

     10     three gentlemen were known for violence in the area.            And

     11     quite frankly, they performed violence in the areas, I will

     12     get to, on Aril 3rd of 2018.

     13                 But agents started looking at those three

     14     individuals and they found that they were selling drugs in

     15     the 2100 block Aiken Street.        In January of 2018,

     16     January 26th, ATF put a pole camera in the 2100 block of

     17     Aiken Street.     At that time they were beginning to monitor

     18     and identify individuals.       And they identifies several of the

     19     individuals on the Indictment.

     20                 On February 1st of 2018, they were able to identify

     21     Mr. Santiful and at that time he had a handgun in his

     22     possession.     They sent Baltimore police detectives out to

     23     the area.    And they identified Mr. Santiful.        They did not

     24     find a handgun at that time.        But they began to watch again

     25     Mr. Santiful dealing with this organization.
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 6 of 14
km                                                                                  6

      1                 What is concerning is that on January, I believe

      2     is 29th, somewhere between February 1st and January 26th,

      3     they h ad already caught and arrested Mr. Wayne Chambers,

      4     who again they saw with a handgun in his hand.           The sent BPD

      5     to that same block.      This time they were able to actually

      6     recover that handgun from Mr. Chambers in addition to heroin

      7     and he was under arrest.       Mr. Chambers is indicated in this

      8     Indictment although he was really only seen for three days in

      9     that Indictment, because we had to take him in because of the

     10     handgun.

     11                 Mr. Santiful, because we did not recover a handgun,

     12     was allowed to continue to be in this drug organization.          We

     13     made two direct buys from him.        One of them on March 9th, the

     14     other one on March 15th.       Those were undercover buys.     They

     15     are recorded.     The second one on March 15th, Mr. Santiful

     16     actually tells the undercover where to go and who he is going

     17     to meet with.     And so it shows a little more of a leadership

     18     role in this organization.       Prior to the March 15th date

     19     being done Mr. Santiful and the two individuals, Mr. Hill and

     20     Mr. Williams, are seen coming out of what the agents had

     21     identified as the stash house.

     22                 Now, this entire investigation came to a very

     23     quick and dangerous end because on April 3rd, two of the

     24     individuals that initiated this investigation, Mr. O’Cain

     25     and Mr. Alston, were in the 2100 block of Aiken again where
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 7 of 14
km                                                                                7

      1     this drug organization that Mr. Santiful was a part, was

      2     working.

      3                 The undercover agent, and again this is all on

      4     tape, rolled into the black, ask Mr. Alston -- asked

      5     Mr. O’Cain, I apologize, for some ready, which is crack

      6     cocaine.    Mr. O’Cain then spoke to Mr. Alston and before any

      7     deal could be done on the video you will see two masked men

      8     running around the undercover car and open fire on Mr. Alston

      9     and Mr. O’Cain.     Mr. Alston returns fire.       The undercover

     10     agent leaves the area.      Mr. Alston and Mr. O’Cain are seen

     11     running to another residence in the 2100 block of Aiken.

     12     Mr. Alston throws something.        The gun is later recovered

     13     which matches the ballistics found in the block.

     14                 The two masked individuals take off in a car.        They

     15     are later -- they are followed by ATF agents.          They are later

     16     arrested at -- I believe it is Sinai -- Sinai or Johns

     17     Hopkins.    It is Johns Hopkins, I apologize, Your Honor.        No

     18     guns are recovered from then.

     19                 But then, as luck would have it, at least for this

     20     investigation, just two weeks ago one of those two masked

     21     individuals was released from State custody and was picked up

     22     again for possession of a gun and it was the gun that was

     23     used in -- on the April 3rd.

     24                 So, this is just to point out how dangerous this

     25     organization is.     And, in fact, when ATF did a search
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 8 of 14
km                                                                                8

      1     warrant on the O’Cain residence, Mr. Boykin, Mr. O’Cain and

      2     Mr. Alston all lived in the residence together, another

      3     loaded weapon was found.       So, this a very dangerous

      4     situation.

      5                  And it just shows that I do not believe that there

      6     are going to be conditions that are going to keep the

      7     community safe because what is interesting about Mr. Santiful

      8     besides being on the pole camera, being -- holding a gun and

      9     candidly we did not recover that gun, Mr. Santiful has two

     10     prior handgun charges.      He has one in 2006.      He received a

     11     suspended sentence.

     12                 In 2008 he violated that probation and received

     13     three years.     He violated that probation it appears because

     14     he picked up yet another handgun violation.          All while how

     15     as very young.     In 2008 he received three years for that --

     16     I am assuming based on my prior experience in the State

     17     system that those three years for the VOP and the gun ran

     18     concurrently.     He then was released.      He violated his parole

     19     in 2010.    He was sentenced to serve the remaining time.

     20                 He was then convicted in 2015 of possession of CDS.

     21     And was on probation at the time of this event.

     22                 So, one thing is significant is that I believe

     23     there has been a violation of probation filed in this

     24     particular case or at least will be filed that is my

     25     understanding from Pretrial.        But he had already violated his
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 9 of 14
km                                                                                 9

      1     probation.    So, it just shows that he cannot abide by

      2     probation.    He cannot abide by parole.       He cannot abide by

      3     the normal laws that society has.

      4                  So, Your Honor, we do believe at this time that

      5     under 18 USC 3142, no conditions can be fashioned to insure

      6     the safety of Mr. Santiful, the community and anyone around

      7     Mr. Santiful.     And we do believe that detention is

      8     appropriate in this matter.

      9                  THE COURT:    And, of course, it is a presumption

     10     case?

     11                 MS. McLANE:    Correct, Your Honor.

     12                 THE COURT:    Okay.   Mr. Henslee.

     13                 MR. HENSLEE:    Thank you, Your Honor.       Well, I

     14     certainly did hear a lot about why Mr. O’Cain, Mr. Alston

     15     and Mr. Boykin might be considered very dangerous to the

     16     public, you know, essentially a shootout on the street and

     17     being found with all sorts of loaded handguns and what not.

     18                 There is this pole camera video we are told of --

     19     I do not meant that in a critical sense.          I just mean I have

     20     not seen it yet -- of my client ostensibly holding a handgun,

     21     although that it not recovered so it is difficult to tell

     22     exactly what that was.

     23                 He does have the prior illegal possession of

     24     firearms, but I would note that he has never been convicted

     25     of any sort of crime of violence.        He has no convictions on
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 10 of 14
km                                                                               10

      1      his records for those.

      2                  He is essentially part of -- charged with the Count

      3      1 conspiracy which is November to May and then also two

      4      separate possession with intents, really distributions, to

      5      someone who is working with the Government on March 9th and

      6      March 15.

      7                  The State -- the Government certainly does enjoy

      8      that rebuttable presumption but to say that there are no

      9      conditions at all which would satisfy the Court as to, you

     10      know, keeping the public safe from my client I think is

     11      overstating it.

     12                  Certain home detention and other monitoring by

     13      Pretrial Services could -- the would know where he is at

     14      every second through that GPS monitoring.         His sister, who

     15      stands ready to take him into the home.         She could be a third

     16      party custodian.     You read in the report, she has a job, she

     17      works.   No one lives with her.      And so he can stay there in

     18      that residence.     And he can stay locked up 24 hours a day

     19      unless he comes to see me or a doctor or something like that,

     20      as well.

     21                  So, it is -- as the Government concedes, he is not

     22      really much of flight risk.       He has got really nowhere to go

     23      other than here.     And certainly, again, the GPS monitoring

     24      can, you know, mitigate that.

     25                  So, given that we really do not have any
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 11 of 14
km                                                                               11

      1      allegations of violence that might client has alleged to have

      2      done I do not -- I think we can overcome that rebuttable

      3      presumption because of the lack of any direct allegations of

      4      violence from my client.

      5                   So, I think home detention would be an appropriate

      6      safeguard for the community here.        I think Mr. Santiful has

      7      not done anything yet that makes us think that he is going

      8      to, you know, be violent in the community if he is on home

      9      detention, so I would suggest that.

     10                   THE COURT:   Okay.    In accordance with the Bail

     11      Reform Act, 18 USC Section 3142(f), the detention hearing has

     12      been held.    I have concluded that the following facts

     13      required the detention of the Defendant pending trial of this

     14      case.

     15                   First of all, this is a case in which the

     16      Government may properly seek detention.         This case is also

     17      charged under 21 USC Section 841 and 846, if convicted one of

     18      those counts carries a maximum of life, due to the amount of

     19      controlled dangerous substance involved here.

     20                   Based on the Government’s proffer there is probable

     21      cause to believe that the Defendant did in fact commit the

     22      offenses charged.     The Government is entitled to a

     23      presumption under 3142(e).        And that presumption I do find

     24      has not been overcome by -- anything that has been presented

     25      on Mr. Santiful’s behalf.
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 12 of 14
km                                                                                12

      1                  Some of the facts that I relied upon, first of all,

      2      this conspiracy used firearms to traffic drugs.          That is the

      3      number one problem with Baltimore City right now, is the

      4      violence between drug trafficking organizations and firearms

      5      on the street.     And here you have an actual shootout that

      6      occurs in the middle of a controlled purchase by an

      7      undercover agent.

      8                  He is seen on video with a firearm.        I know we have

      9      not recovered that firearm, but I think it is pretty

     10      persuasive and there is certainly probable cause that at one

     11      point he possessed a firearm during the course of this drug

     12      trafficking conspiracy.

     13                  And as we all know, as part of the conspiracy you

     14      can be charged with anything and held accountable for

     15      anything at sentencing that is reasonably foreseeable.         And

     16      certainly this case with the firearms being recovered from

     17      one of the Defendants and another firearm being recovered as

     18      well, and one from the antagonist who came out from other

     19      side who must have been involved in some dispute with two of

     20      the co-conspirators here.

     21                  Certainly there is no question in my mind that this

     22      is what presents the most danger to people in this City right

     23      now.   The firearms on the streets with people trafficking

     24      drugs.

     25                  This is a presumption case.       As I said, nothing has
          Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 13 of 14
km                                                                                  13

      1      been presented that would overcome that presumption.           There

      2      is a life sentence, although there is no concern from the

      3      Government’s part that the Defendant would in fact appear for

      4      trial.   And maybe conditions could be fashioned.         I have my

      5      doubts with that since his response to supervision has been

      6      poor in that he has not only violated his parole and

      7      probation in the past but actually was convicted of those and

      8      served additional time.

      9                   He also has a very serious criminal history.        And

     10      he has a prior history of firearms convictions and some drug

     11      convictions, as well.       Another activity on his record that is

     12      very typical of a street level drug trafficker, along with

     13      the firearms.    And that is, as I said, the number one reason

     14      why people are dying on the streets in this City.

     15                   So, therefore I find that there are by clear and

     16      convincing evidence, there are no conditions or combination

     17      of conditions which will reasonably assure both the presence

     18      at trial of the Defendant, more importantly the safety of the

     19      community.    So, therefore the Defendant will remain detained.

     20                   Is there anything, Mr. Henslee, we need to address

     21      in terms of medical issues?

     22                   MR. HENSLEE:    No, Your Honor.

     23                   THE COURT:   Okay.   Thank you.

     24            (Whereupon, at 2:59 p.m., the proceedings were

     25      concluded.)
     Case 1:18-cr-00278-CCB Document 96 Filed 06/22/18 Page 14 of 14
km                                                                     14

                                C E R T I F I C A T E

                    I certify that the foregoing is correct transcript

        from the electronic sound recording of the proceedings in the

        above-entitled matter.




        _______________________________________
        Karen Morganelli              Date
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